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            EXHIBIT C
ED Requires K-12 School Districts to Certify Compliance with Title VI...   https://www.ed.gov/about/news/press-release/ed-requires-k-12-school-di...
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